        Case 22-60043 Document 158 Filed in TXSB on 09/15/22 Page 1 of 3




                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

                                                 §
 In re:                                          §       Chapter 11 (Subchapter V)
 FREE SPEECH SYSTEMS LLC,                        §
 .                                               §       Case No. 22-60043 (CML)
                                                 §
                                Debtor.          §       Jointly Administered

           SUBCHAPTER V TRUSTEE’S STATEMENT REGARDING
         THE APPLICATIONS OF THE DEBTOR FOR EMPLOYMENT
       OF W. MARC SCHWARTZ AS CHIEF RESTRUCTURING OFFICER
 AND SHANNON & LEE LLP AS BANKRUPTCY CO-COUNSEL FOR THE DEBTOR


       Melissa Haselden, ( “Subchapter V Trustee”) files this Statement regarding the Application

Of Debtor For An Order For An Order (A) Authorizing Employment Of W. Marc Schwartz As

Chief Restructuring Officer, (B) Authorizing Employment Of Staff Of Schwartz Associates, LLC In

Discharge Of Duties As Chief Restructuring Officer, And (C) Granting Related Relief [Docket

No. 83] and Application of Debtor For An Order (A) Authorizing Employment of Shannon & Lee

LLP As Bankruptcy Co-Counsel For the Debtor And (B) Granting Related Relief [Docket No. 85]

(collectively the “Motions”) and states the following:

       At this time, the Subchapter V Trustee takes no position with respect to the Motions but

reserves the right to supplement, amend or modify this position as information becomes available

and reserves the right to fully participate in the hearing on the Motions.
       Case 22-60043 Document 158 Filed in TXSB on 09/15/22 Page 2 of 3




Dated: September 15, 2022            /s/ Elizabeth Freeman
                                     JACKSON WALKER LLP
                                     Elizabeth Freeman (TX Bar No. 2400922)
                                     Sean Gallagher (TX Bar No. 24101781)
                                     1401 McKinney Street, Suite 1900
                                     Houston, TX 77010
                                     Telephone: (713) 752-4200
                                     Facsimile: (713) 752-4221
                                     Email: efreeman@jw.com
                                             sgallagher@jw.com

                                     Proposed Counsel for      Melissa   Haselden,
                                     Subchapter V Trustee
         Case 22-60043 Document 158 Filed in TXSB on 09/15/22 Page 3 of 3




                              CERTIFICATE OF SERVICE

       I certify that on September 15, 2022, I caused a copy of the foregoing document to be
served by the Electronic Case Filing System for the United States Bankruptcy Court for the
Southern District of Texas.

                                          /s/ Elizabeth Freeman
                                          Elizabeth Freeman




33971967v.4 099999/11113
